
*946ON MOTION FOR REHEARING
PALMER, J.
We grant appellant’s motion for rehearing, withdraw our opinion dated May 31, 2005, and issue this revised opinion in its place.
We affirm this case based upon S.S.M. v. State, 898 So.2d 84 (Fla. 5th DCA 2004). As in V.K.E. v. State, 902 So.2d 343 (Fla. 5th DCA 2005), we certify the following question to the Florida Supreme Court as being a matter of great public importance:
WHETHER THE CIRCUIT COURT HAS THE AUTHORITY IN DELINQUENCY PROCEEDINGS TO IMPOSE THE MANDATORY SURCHARGES SET FORTH IN SECTIONS 938.08 AND 938.085 OF THE FLORIDA STATUTES.
AFFIRMED; QUESTION CERTIFIED.
ORFINGER and MONACO, JJ., concur.
